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 1
                              UNITED STATES DISTRICT COURT
 2
                           NORTHERN DISTRICT OF CALIFORNIA
 3
                                  SAN FRANCISCO DIVISION
 4
     IN RE GOOGLE PLAY STORE                      Case No. 3:21-md-02981-JD
 5   ANTITRUST LITIGATION
                                                  DEFENDANTS’ OPPOSITION TO
 6   THIS DOCUMENT RELATES TO:                    PLAINTIFFS’ CLASS CERTIFICATION
                                                  MOTION
 7
     In re Google Play Consumer Antitrust         Judge James Donato
 8   Litigation, Case No. 3:20-cv-05761-JD
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 1                                            INTRODUCTION
 2          Class certification should be denied here for a simple reason: real-world data show that
 3   the vast majority of putative class members suffered no antitrust impact, which means individual
 4   “mini-trials” would be necessary to identify any consumers who may have been injured.
 5   Plaintiffs spend the bulk of their motion (ECF No. 280 (“Mot.”)) attacking Google’s business
 6   practices by misconstruing evidence and brushing aside competitive realities. Contrary to
 7   Plaintiffs’ claims, Google’s business practices with respect to Android and Google Play (“Play”)
 8   have increased competition, expanded access to mobile devices, and facilitated an explosion of
 9   app development that has benefited consumers and developers. Plaintiffs ignore these benefits,
10   and instead argue that Play is akin to a “payment processor,” failing to account for the incredible
11   value it provides to billions of users. But even accepting Plaintiffs’ liability theory, the focus at
12   class certification is whether Plaintiffs have common evidence that can identify which (if any)
13   class members suffered antitrust impact as a result of Google’s conduct. They do not.
14          Plaintiffs seek to certify a class of consumers that purchased software applications
15   (“apps”), subscriptions, and in-app purchases (“IAPs”) from developers. They claim Google’s
16   conduct resulted in higher service fees, and that developers passed through those fees by raising
17   prices for all consumers. Plaintiffs rest this theory entirely on their expert, Dr. Hal Singer, who
18   opines that the laws of economics predict that all developers would change prices in response to
19   changes in Google’s service fee. But Dr. Singer cannot reconcile his theoretical formulas with
20   real-world evidence showing that pass-through of the service fee is a rare exception, not the rule.
21   When Google has lowered its service fees in the past,
22   Dr. Singer has no sound explanation for why the data resoundingly contradict his theory.
23          These data show that Plaintiffs cannot assume that the developer of each app would set
24   lower prices if Google charged lower service fees. Plaintiffs must prove whether developers
25   would have reduced prices for each of the approximately              unique apps involved in
26   purchases by more than               putative class members. After all, roughly                of those
27   consumers, or       , only made purchases from one app. If that app’s developer did not pass
28   through any service fees, then those millions of consumers were not injured. That is why pass-

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 1   through must be proven for each app to identify whether each consumer was injured.
 2          Pass-through depends on facts that vary by app: e.g., the developer’s marginal costs,
 3   pricing strategy, and competitive conditions. Dr. Singer concedes he has no model to estimate or
 4   account for these variables, meaning Plaintiffs would have to conduct app-by-app analyses for
 5   hundreds of thousands of different apps to identify any consumers who were injured. Courts
 6   regularly deny certification where impact depends on such an individualized question. And that
 7   would not be the only one. Because Google has responded to competition by reducing service
 8   fees for some developers but not others, a “mini-trial” also would be necessary to determine
 9   whether a developer would have been subject to a lower service fee in the but-for world.
10          Plaintiffs’ alternative Play Points theory fares no better. Plaintiffs claim that, in the but-
11   for world, Google would have increased rewards in its Play Points loyalty program. However,
12                                                            Thus, to prove which consumers suffered
13   antitrust impact under this Play Points theory, Plaintiffs must prove which consumers would have
14   made a different decision to enroll and use points in the but-for world. Dr. Singer concedes that
15   he has no model to determine what each consumer would have done regarding Play Points, which
16   means Plaintiffs would need to prove that fact consumer by consumer.
17          Plaintiffs’ motion fails for additional reasons. First, many consumers benefit from the
18   business model Plaintiffs have challenged, and Plaintiffs have no common method of proving
19   whether a particular consumer would have been better off with or without that model. Second, an
20   agreement between Plaintiffs’ counsel and the State AGs creates financial conflicts and dual
21   loyalties that prevent Plaintiffs’ counsel from adequately representing the proposed class.
22   Finally, Plaintiffs have not met the standards to certify an injunctive relief class that includes
23   consumers who never made any purchases in Play because they cannot show that an injunction
24   would be appropriate for all class members. They have not specified the injunction they seek, nor
25   shown that an injunction is needed to remedy any harm to consumers who have benefited from
26   Play without paying a cent. If anything, issuing an injunction requiring Google to change its
27   business model would harm consumers who benefit from Play without paying anything.
28          The Court should deny Plaintiffs’ motion for class certification.

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 1                                            BACKGROUND
 2   I.     FACTS RELEVANT TO CLASS CERTIFICATION
 3          A.      Google Play
 4          Play is a platform that facilitates transactions between consumers and developers.
 5   Declaration of Sujal Shah, Ex. A (Expert Report of Dr. Michelle Burtis (“Burtis”)) ¶ 59.
 6   Developers offer, and consumers find and download, apps for Android devices through Play. Id.
 7   As of May 5, 2021, there were over 4 million apps listed in Play with widely differentiated
 8   functions, from games to productivity to entertainment to dating to tools. Games are also highly
 9   differentiated, ranging from casual puzzle games to complex role-playing games that demand
10   considerable memory and graphics capabilities. Id. ¶ 157. Developers choose the category in
11   which to list their apps on Play, and apps in each category are highly varied. Id. ¶ 158.
12          Developers have many options for monetizing apps distributed on Play, including selling
13   the app (“paid app”), selling a subscription to access content in the app (“subscription app”),
14   selling digital content in the app (“IAP app”), or showing ads in the app. Id. ¶ 53. Roughly 90%
15   of apps are completely free, meaning they are free to download and do not offer IAP or
16   subscriptions (though they may display ads). Id. Ex. 1.
17                                                             Id. Ex. 22. Most developers that offer
18   IAPs or subscriptions adopt a “freemium” model in which consumers can download and use an
19   app for free, with the option to purchase a subscription or IAP for additional functionality. Id.
20   ¶¶ 54–56. During the class period,
21

22                                                                                 See id. Ex. 22.
23          B.      Google Play’s Business Model
24          Besides a one-time $25 fee, which Plaintiffs do not challenge, Google does not charge
25   developers anything to list or distribute apps on Play. Id. ¶ 60 & n.39. Instead, Google monetizes
26   Play in part by charging a service fee on sales of paid apps, subscriptions, and IAPs. Google does
27   not charge the developer a service fee unless the developer makes money; Google’s service fee is
28   a percentage of the revenue (“consumer spend”) generated by these sales. Id. ¶ 62. This is a

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 1   common business model employed by a number of Google’s competitors including, for example,
 2   Apple, Samsung, Amazon, Steam, and Microsoft Xbox. Id. Ex. 28.
 3           Nearly all consumer spend by U.S. consumers—          —is on subscriptions and IAP, not
 4   paid apps. Id. Ex. 4. Play’s Payments Policy requires developers selling subscriptions and/or
 5   IAPs in apps distributed through Play to use Google Play’s billing system. This ensures that
 6   consumers have a safe, trusted, and secure billing system and that Google can efficiently collect
 7   fees for the value Play provides, which includes distribution to nearly 3 billion users; protection
 8   from malware and other unwanted apps; developer tools to launch and grow apps; and user tools
 9   to manage purchases, subscriptions, and parental controls. Shah Decl., Ex. J (“Feng Dep.”), at
10   62:11–21, 113:18–114:24.
11           Google’s service fees have changed over time, and it has “moved beyond a ‘one size fits
12   all’ service fee model.” Burtis n.131. Some developers pay a 30% fee, which for a long time was
13   industry standard. Id. n.55. Certain developers are eligible for programs that have service fees at
14                            . Id. ¶ 84.
15

16                                                                                            In January
17   2018, Google reduced its service fee for subscriptions after the first year to 15%, and in January
18   2022, reduced the service fee for all subscriptions to 15%. Id. ¶ 71. In July 2021, Google
19   reduced its service fee for the first $1 million in annual developer earnings to 15%. Id.
20           C.     The Putative Consumer Classes
21           During the class period,1 over            putative class members purchased a paid app,
22   subscription, and/or IAP from over           unique apps. Declaration of Michelle Burtis, Ex. A
23   (Burtis Rev. Ex. 20).2 Roughly                      putative class members only made purchases
24   from one app during the class period, and                     only made a single purchase during
25   the class period. Id., Ex. B (Burtis Rev. Ex. 21); id., Ex. D (Burtis Rev. Ex. 24). More than
26
     1
27     Although Plaintiffs’ class period goes to the present, Google’s data production only goes
     through July 2021. Unless otherwise noted, “class period” refers to August 2016 to July 3, 2021.
     2
28     These numbers may be overstated because they refer to distinct consumer IDs in Google’s
     databases, and a consumer may have more than one consumer ID. Burtis n.102.
                                                       4
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 1            putative class members           spent less than $5 during the class period, and more than
 2   half the putative class spent less than      . Id., Ex. C (Burtis Rev. Ex. 23).
 3           There are also millions of Android device users that do not purchase any paid apps,
 4   subscriptions, or IAPs. From 2016 to 2021, there were an estimated 108 to 131 million Android
 5   smartphone users in the United States.3 During that time, only approximately                 U.S.
 6   consumers purchased a paid app, subscription, and/or IAP through Play. Burtis Ex. 20.4
 7           D.     Fees and Prices
 8           Developers, not Google, set the prices for paid apps, subscriptions, and IAP they sell
 9   through Play.5 As explained in more detail below, whether a developer would choose to lower its
10   price in response to a lower service fee depends on a number of factors, including the developer’s
11   marginal costs, focal point pricing, the competition faced by the developer, and other
12   idiosyncratic factors. See Burtis ¶¶ 142–56. Google’s service fee may not affect how a developer
13   sets prices. For example, a number of named Developer Plaintiffs testified that
14                                                          E.g., Shah Decl., Ex. B (“Ellis Dep.”) at
15   256:9–22 (LittleHoots); id., Ex. C (“Scalise Dep.”) at 212:9–214:11 (Rescue Pets); id., Ex. D
16   (“Czeslawski Dep.”) at 306:4–307:3 (PSB).
17           Notably, real-world data show that when Google reduced service fees for certain
18   developers,                                         For individual items (SKUs) sold by developers
19   subject to a reduction in the service fee,
20

21   Burtis ¶ 176. Executives of several Developer Plaintiffs’ class representatives testified
22                                                        . Scalise Dep. at 214:12–24 (Rescue Pets);
23   Czeslawski Dep. at 315:17–316:6 (PSB); Ellis Dep. at 265:21–266:4 (LittleHoots).
24           E.     Play Points
25           Google introduced a rewards program, Play Points, in the U.S. in November 2019. Burtis
26
     3
       https://www.statista.com/statistics/232786/forecast-of-andrioid-users-in-the-us/.
27   4
       This figure overstates the number of consumers that made a purchase because it is based on distinct
     consumer IDs and not individual consumers. See n.2, above.
28   5
       For most of the class period, prices ranged from a minimum $0.99 to a maximum $400 price. Play
     recently changed the minimum price allowed to $0.05. Burtis n.33.
                                                        5
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 1   ¶ 352. Consumers must register for the program and earn “loyalty points” based on purchases.
 2   Id. ¶¶ 352–53. Play Points can be redeemed for Play Credits, to purchase items in Play, or
 3   redeemed for special IAPs. Id. ¶ 352. From November 2019 through 2021,                  of U.S.
 4   consumers registered for Play Points. Id. ¶ 354. From the launch of the program through July 3,
 5   2021, no more than                       of U.S. consumers have redeemed Play Points, either by
 6   using points to purchase an item or exchanging points for Play Credits. Id. ¶ 355.
 7   II.      EXPERT ANALYSIS OF DR. MICHELLE BURTIS
 8            Accounting for these and other facts explained below, Google’s expert, Dr. Michelle
 9   Burtis, opines that individual analysis of impact is necessary for the following reasons:
10         ● Whether any developer would lower prices to consumers in response to a lower service
             fee requires an individualized analysis considering a host of factors. Id. ¶¶ 23–25.
11
           ● Dr. Singer’s opinion that pass-through would be universal is “verifiably wrong” because
12           when Google reduced service fees,                                           Id. ¶ 29.

13         ● Google would not uniformly reduce service fees in the but-for world, and determining
             which apps would be subject to lower rates requires an individual analysis. Id. ¶¶ 11–20.
14         ● Not all consumers sign up for Play Points, and
                         , so proof of an injury from a reduction in Play Points requires individual
15
             proof of whether each consumer would have signed up and used those points. Id. ¶¶ 36.
16         ● Many putative class members benefited from the challenged conduct by obtaining free
             apps and secure devices; an individualized analysis would be required to determine
17
             whether each consumer would have been better off in the but-for world. Id. ¶¶ 37, 40.
18
     Based on this evidence, Dr. Burtis concludes that Plaintiffs cannot rely on common evidence to
19
     show that all or nearly all class members were impacted.
20
                                            LEGAL STANDARD
21
              Plaintiffs must prove by a preponderance of the evidence that their proposed classes
22
     satisfy Rule 23(a)’s numerosity, commonality, typicality, and adequacy requirements, as well as
23
     Rule 23(b)(2) and (b)(3). Olean Wholesale Grocery Coop., Inc. v. Bumble Bee Foods LLC, 31
24
     F.4th 651, 663–65 (9th Cir. 2022) (en banc). This “rigorous analysis” will “[f]requently . . .
25
     overlap with the merits.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 351 (2011). “[W]here
26
     necessary,” courts may “resolv[e] expert disputes” to determine whether Rule 23’s requirements
27
     are met. Olean, 31 F.4th at 666 (alteration and quotation marks omitted).
28

                                                       6
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 1
            Rule 23(b)(3) requires Plaintiffs to show that common questions “are more prevalent or
 2
     more important than the . . . individual issues.” Id. at 664 (quotation marks omitted). This
 3
     requires proof that “essential elements of the cause of action, such as . . . an antitrust violation or
 4
     antitrust impact, are capable of being established through a common body of evidence, applicable
 5
     to the whole class.” Id. at 666 (quotation marks omitted). Antitrust impact—that is, “the fact of
 6
     damage that results from a violation of the antitrust laws”—is “critically important for . . . Rule
 7
     23(b)(3)’s predominance requirement.” In re High-Tech Emp. Antitrust Litig., 289 F.R.D. 555,
 8
     565–66 (N.D. Cal. 2013) (quotation marks omitted).
 9
            Class certification is inappropriate when “the need to identify uninjured class members
10
     will predominate and render an adjudication unmanageable,” such as when plaintiffs propose “no
11
     further way—short of full-blown, individual trials”—to determine whether class members were
12
     injured. Olean, 31 F.4th at 669 n.13 (quotation marks omitted). Moreover, “where injury-in-fact
13
     is a required element of a claim, as it is in an antitrust action, a class cannot be certified based on
14
     an expectation that the defendant will have no opportunity to press at trial genuine challenges to
15
     allegations of injury-in-fact.” Id. at 669 (citation omitted). “When a class is defined so broadly
16
     as to include a great number of members who for some reason could not have been harmed . . .
17
     the class is defined too broadly to permit certification.” Id. at n.14 (quotation marks omitted).
18
     Indeed, the Supreme Court has held that “[e]very class member must have Article III standing in
19
     order to recover individual damages.” TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2208
20
     (2021). This Court must thus “determine whether individualized inquiries into this standing issue
21
     would predominate over common questions.” Olean, 31 F.4th at 668 n.12.
22
            To certify a class seeking an injunction under Rule 23(b)(2), plaintiffs must show that “a
23
     single injunction . . . would provide relief to each member of the class.” Dukes, 564 U.S. at 360.
24
     Plaintiffs must describe the “general contours” of the relief they seek, and that relief must be
25
     “more specific than a bare” instruction “to follow the law.” B.K. by next friend Tinsley v. Snyder,
26
     922 F.3d 957, 972 (9th Cir. 2019) (quotation marks omitted).
27

28

                                                        7
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 1                                               ARGUMENT
 2   I.     PLAINTIFFS CANNOT DEMONSTRATE THAT ALL OR NEARLY ALL CLASS
            MEMBERS SUFFERED ANTITRUST IMPACT USING COMMON PROOF.
 3
           As Plaintiffs acknowledge, “what really matters is whether the class can point to common
 4
     proof that will establish antitrust injury . . . on a class wide basis.” Mot. at 19 (quoting In re
 5
     Capacitors III, 2018 WL 5980139, at *8 (N.D. Cal. 2008)). But Plaintiffs have no common proof
 6
     that developers would have passed through lower service fees in the but-for world—or that
 7
     developers would have had lower service fees at all. Nor do they have common proof of which
 8
     consumers would have been injured under their Play Points theory. That is fatal to class
 9
     certification because, as the Ninth Circuit noted in Olean, courts have “held that Rule 23(b)(3)’s
10
     predominance requirement is not satisfied when the need to identify uninjured class members will
11
     predominate.” 31 F.4th at 669 n.13 (citing In re Rail Freight Fuel Surcharge Antitrust Litig.-MDL
12
     No. 1869 (Rail Freight II), 934 F.3d 619, 625 (D.C. Cir. 2019) and In re Asacol Antitrust Litig.,
13
     907 F.3d 42, 53–54 (1st Cir. 2018)). Plaintiffs also fail to account for the benefits many class
14
     members received from Google’s conduct. Finally, because Plaintiffs lack a common method for
15
     calculating damages, individual damages issues will predominate.
16
           These problems are all amplified by Plaintiffs’ decision to seek certification limited to
17
     consumers “in [17] U.S. states and territories,” but not states whose State AGs are plaintiffs.
18
     Mot. at i & 3. Plaintiffs do not explain whether their proposed class is limited to current residents
19
     of the 17 states and territories or includes individuals who were present in one of those
20
     jurisdictions when they made a purchase, or something else. Regardless, during the class period,
21
     millions of Play consumers likely moved between a class state and a non-class state. An
22
     individual may have purchased nothing while a Georgia resident (in the class) but then moved to
23
     California (not in the class) and made a purchase there. Thus, beyond the individualized inquiries
24
     discussed below, it will be necessary to consider each individual transaction and determine where
25
     the user resided or was located at the time of purchase to determine if it is part of the claim.
26
     Plaintiffs do not propose any method for sustaining their burden to make this showing with
27
     common proof.
28

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 1          A.      Plaintiffs Have No Common Proof of Pass-Through.
 2                  1.       Individual Issues Predominate Because Pass-Through Requires An
 3                           App-By-App Analysis Not Susceptible To Common Proof.
            Plaintiffs’ main theory of antitrust impact depends on “pass-through from developers.”
 4
     Mot. at 12. As the Supreme Court has explained, if the developer of an app did not pass on
 5
     service fees by raising prices, then a consumer of that app was not injured. See Apple Inc. v.
 6
     Pepper, 139 S. Ct. 1514, 1523 (2019) (no damages where “consumers would pay the same retail
 7
     price regardless of whether Apple’s commission was 10 percent or 30 percent”). Approximately
 8
                 consumers—         of the proposed class—made purchases involving one app. Burtis
 9
     Decl., Ex. B (Burtis Rev. Ex. 23). These consumers were not injured if the developer of the app
10
     did not pass-through any allegedly inflated service fees through higher prices. Plaintiffs lack
11
     common proof of pass-through needed “to identify uninjured class members.” Olean, 31 F.3d at
12
     669 n.13. Plaintiffs’ proof of impact consists entirely of expert testimony from Dr. Singer, Mot.
13
     at 12–13, which is unreliable and inadmissible for the reasons explained in Google’s Daubert
14
     motion, ECF No. 282.
15
            Regardless, unlike Olean, this is not a case where a defendant merely disputes whether the
16
     factfinder should find a plaintiffs’ expert “persuasive[]” or “unpersuasive.” 31 F.4th at 667, 678.
17
     The problem here is that Plaintiffs’ expert evidence is not “capable of resolving a class-wide
18
     question in one stroke,” an issue that Olean directs district courts to resolve. Id. at 666. Dr.
19
     Singer’s opinion is based on a theoretical model that contradicts real-world data that pass-through
20
     was rare. The only analysis of actual service fee and price data in the record (by Google’s expert
21
     Dr. Burtis) shows that when Google reduced service fees for many transactions in 2018, 2021,
22
     and 2022,
23
                             See Burtis ¶ 103, Fig. 13. An analysis of more limited data by the
24
     Developer Plaintiffs’ expert puts the percentage of apps that pass through any amount of lower
25
     costs to consumers at          . Id. at 291 n.348.
26
            Evidence that pass-through was                shows that pass-through must be proven for each
27
     app, not assumed for all apps. Proof of pass-through is “more complex” because it “must account
28

                                                       9
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 1   for the actions of innocent intermediaries who allegedly passed on the overcharge.” In re
 2   Graphics Processing Units Antitrust Litig. (“GPU”), 253 F.R.D. 478, 499 (N.D. Cal. 2008). This
 3   can make “the predominance standard more difficult to meet.” 6 Newberg on Class Actions
 4   § 20:53 (5th ed.); cf. Illinois Brick Co. v. Illinois, 431 U.S. 720, 742 (1977) (noting “difficulties
 5   that have been encountered” with “statistical techniques used to estimate” pass-through). The
 6   sheer number of unique app transactions involved here amplifies the challenge. Whether a
 7   developer would have passed through a lower service fee to consumers in the but-for world
 8   requires analyzing pass-through for each of the roughly             unique apps involved in
 9   purchases by putative class members. Thus, in order “to identify uninjured class members”
10   without “render[ing] an adjudication unmanageable,” Olean, 31 F.4th at 669 n.13, the factfinder
11   must have a method of proving pass-through for every one of the hundreds of thousands of apps
12   involved in transactions by putative class members.
13          Plaintiffs have no such model. As the real-world data confirms, whether a developer
14   would pass through a lower service fee depends on multiple variables—marginal costs, focal
15   point pricing, competitive conditions, and other idiosyncratic factors—that defy common proof.
16   That app-by-app analysis of pass-through is not “susceptible to generalized, class-wide proof”
17   because Plaintiffs “will need to present evidence that varies from member to member.” Tyson
18   Foods, Inc. v. Bouaphakeo, 577 U.S. 442, 453 (2016). Thus, “the only way to fully assess pass-
19   through in this action would be” through “thousands of mini-trials, rendering this case
20   unmanageable and unsuitable for class action treatment.” GPU, 253 F.R.D. at 505.
21          Marginal costs. In the standard economic model that Dr. Singer identifies for how an
22   increase in service fees would affect a developer’s price, any effect depends on the developer’s
23   marginal cost. Shah Decl., Ex. G (“Singer Dep.”) at 105:8–106:3, 107:23–109:14; id., Ex. H
24   (Expert Report of Dr. Hal Singer (“Singer”)) ¶ 225 & n.495. Thus, if a developer’s marginal cost
25   of producing an additional IAP is zero, then according to Dr. Singer, “prices would not adjust”
26   and there would be no pass-through—even if a developer paid a lower service fee. Singer Dep. at
27   109:15–110:3. Economic literature recognizes that many digital goods have zero marginal costs.
28   Burtis ¶¶ 142–43. Dr. Singer’s report relies on an article stating that the “replication cost of

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 1   digital goods is zero.” Singer Dep. at 95:22–98:19.6 And Dr. Singer testified that the “150th
 2   sword” purchased in a videogame “doesn’t cost any more to replicate.” Singer Dep. at 98:10–19.
 3           Thus, under Dr. Singer’s economic model, pass-through depends on marginal costs, but
 4   Plaintiffs have no common proof of each developer’s marginal costs for each app. As Dr. Singer
 5   testified, “the marginal cost to a developer of supplying an additional in-app purchase could vary
 6   from developer to developer.” Singer Dep. at 95:15–18. Dr. Singer did not try to estimate any
 7   developer’s marginal costs, id. at 90:20–91:2, 91:22–92:7, or use the standard economic model
 8   that depends on them. Id. at 382:6–15. Instead, he used a simple ratio that “doesn’t actually
 9   depend on what the marginal cost of the developer is”: the quantity of an app’s transactions
10   divided by the quantity of transactions in the category in which the developer lists the app in Play.
11   Id. at 91:3–8; see id. at 190:20–192:3 (testifying that the “beauty” of this formula is that “we
12   don’t need to estimate the marginal costs”). Dr. Singer’s model simply ignores the individualized
13   issues specific to marginal costs that must be examined to determine whether a developer would
14   have raised prices and thus whether a consumer who purchased from that developer was injured.
15           Focal point pricing. Proof of pass-through also requires an inquiry into whether the
16   developer of each app uses “focal point pricing,” a “well-established concept in economics” in
17   which firms set prices ending in “99” cents. Id. at 197:19–198:4; Burtis ¶ 149. The prices for
18   some       of U.S. consumers’ retail app transactions ended in “99,” and over            developers
19   used prices ending in “99” during the class period. Burtis ¶ 149, Fig. 7; id. at Table 9; cf. In re
20   Apple iPhone Antitrust Litig., 2022 WL 1284104, at *8 (N.D. Cal. 2022) (“overwhelming
21   evidence suggests that developers would choose to price their apps at focal points ending in 99
22   cents”). Pass-through is unprofitable where “the reduction from one” focal price point “to the
23   next would be so large that the developer would lose profits.” Burtis ¶ 150.
24           Dr. Singer’s formula does not account for focal point pricing. Singer Dep. at 205:19–
25   206:8. This alone is grounds for denying certification. In re Lithium Ion Batteries Antitrust
26   Litig., 2018 WL 1156797, at *3 (N.D. Cal. 2018) (denying certification where expert failed to
27
     6
28     Shah Decl., Ex. E (Avi Goldfarb & Catherine Tucker, Digital Economics, 57 J. Econ. Lit. 3, 12
     (2019) (DX 335)).
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 1   “adequately account for the effects of focal point pricing”); In re Optical Disk Drive Antitrust
 2   Litig. (“ODD”), 303 F.R.D. 311, 325 (N.D. Cal. 2014) (same where expert did not address “the
 3   common practice in the industry of selling products costing in the hundreds of dollars at prices
 4   just under the next $100 mark”); Apple iPhone, 2022 WL 1284104, at *8 (same in part because
 5   “focal pricing” showed that expert’s model did not reliably “determin[e] but-for pricing”).
 6           Plaintiffs claim to “have established a record demonstrating that focal-point pricing is not
 7   integral to developers’ pricing in a but-for world” and “is unnecessary to include in a pricing
 8   model.” Mot. at 23 n.16 (citing Shah Decl., Ex. I (Expert Reply Report of Dr. Hal Singer
 9   (“Singer Reply”)) ¶¶ 26–30). But Dr. Singer admitted the opposite—that “focal point pricing is
10   an important consideration here,” Singer Dep. at 202:2–7, and the portion of Dr. Singer’s Reply
11   Report cited by Plaintiffs only underscores the need for an app-by-app inquiry. There, Dr. Singer
12   speculates that developers “could” end their prices in “9” rather than “99”, and hypothesizes how
13   departing from focal point pricing could be profitable under certain assumptions. Singer Reply
14   ¶¶ 29–30 (emphasis added). But, yet again, determining whether any developer would do so in
15   the but-for world requires data about each app.7
16           Competitive conditions. A developer’s price also may depend on the competition it
17   faces, which varies from app to app. Burtis ¶ 155–60. Dr. Singer agrees that “competition
18   among developers makes their pricing interdependent” and that “the prices that developers charge
19   in the but-for world could depend on what their competitors charge.” Singer Reply ¶ 118; Singer
20   Dep. at 167:3–6; see also Scalise Dep. at 212:9–19 (
21

22                                                          ). Yet Plaintiffs have no common method
23   to account for how the varied competition faced by hundreds of thousands of different apps
24   affects how developers set prices for those apps. Given Dr. Singer’s admitted failure to “put forth
25   a model . . . to determine which apps in each category are complements and which are
26   substitutes,” Singer Dep. 159:15–25, Dr. Singer’s method cannot account for variations in
27
     7
28    Google required developers to charge at least $.99, Mot. at 22, but that restriction applies to
     17% of U.S. consumer transactions, not the 80% of other transactions that also ended in “99.”
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 1   competition that he concedes affect pass-through. That is fatal to Plaintiffs’ certification bid. See
 2   Exhaust Unlimited, Inc. v. Cintas Corp., 223 F.R.D. 506, 513 (S.D. Ill. 2004) (denying
 3   certification where “the but-for-price-what a customer would pay” depended on variable
 4   “competitive dynamics”); Dry Cleaning & Laundry Inst. of Detroit, Inc. v. Flom’s Corp., 1993
 5   WL 527928, at *5 (E.D. Mich. 1993) (same where plaintiffs did not “account the varying markets
 6   for dry cleaning and laundry supplies”); Burkhalter Travel Agency v. MacFarms Int’l, Inc., 141
 7   F.R.D. 144, 154 (N.D. Cal. 1991) (same where sales took place in a “diversity of markets”).
 8           Other idiosyncratic factors. There are many other reasons why a developer may not
 9   pass through a service fee reduction. For example, if the developer would have invested savings
10   from reduced service fees in improving or marketing its app instead of reducing prices, the app’s
11   consumer was not injured. Although Dr. Singer testified that “standard economics would give
12   developers an incentive to respond to lower service fees by reducing prices and improving
13   quality,” he “doesn’t measure whether any developer would actually invest, or how much they
14   would invest, in improving the quality of their app in the but-for world.” Singer Dep. at. 53:24–
15   54:3 (emphasis added), 56:14–57:5. A developer may also simply
16                                                        Scalise Dep. at 207:14–17. Or the developer
17   may think                                                                      See Czeslawski Dep.
18   at 316:7–317:5 (PSB did not lower prices following a service fee reduction because “[w]e still
19   feel this is a fair price for our app”); Ellis Dep. at 241:7–13 (
20

21           ). Plaintiffs have no method other than thousands of mini-trials to prove which developers
22   would have actually reduced prices, and for which products, in response to lower service fees.8
23                   2.      Dr. Singer’s Pass-Through Model Is Based On Theoretical Assumptions
24                           Instead Of Analyses Typically Relied Upon By Other Courts.
             Plaintiffs insist they have common proof of impact from pass-through because “there are
25

26   8
      Olean directs that a class not be “defined so broadly as to include a great number” of uninjured
     members, which is dispositive here. 31 F.4th at 669 n.14. It likewise follows that Plaintiffs
27   cannot demonstrate, through common evidence, injury in fact to all class members, or that no
28   more than a de minimis number of class members are uninjured. See Rail Freight II, F.3d at 624–
     625; Asacol, 907 F.3d at 53–54.
                                                        13
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 1   well-accepted econometric techniques—some of which Dr. Singer utilized in this case—for
 2   demonstrating ‘antitrust impact in markets with individualized differences among purchasers.’”
 3   Mot. at 22 (quoting Olean, 31 F.4th at 674). This is misleading. Although Dr. Singer “typically”
 4   analyzes pass-through by “regressing retail price changes on wholesale price changes,” Singer
 5   Dep. at 134:25–135:6, he did not run any regression to calculate pass-through rates here, id. at
 6   164:18–165:12. Instead, Dr. Singer employed a formula that always predicts pass-through and
 7   thus “assumes the very proposition that the [Plaintiffs] are now offering it, in part, to show.”
 8   ODD, 303 F.R.D. at 321 (denying class certification). As Dr. Singer testified, his pass-through
 9   formula of 100 minus the ratio of an app’s transactions to transactions in the category the
10   developer chose “will always produce a pass-through rate” so long as an app does not account for
11   100% of a given category, which no app does. Singer Dep. at 181:23–183:7.
12           This case is therefore unlike the cases cited by Plaintiffs where experts analyzed the
13   effects of price-fixing using regressions.9 For example, in Olean, plaintiffs’ experts “performed a
14   separate regression analysis to determine if [the alleged] overcharges passed through to the”
15   plaintiffs. 31 F.4th at 683. Such regressions, if properly conducted, may “control for the effects
16   of the differences among class members and isolate the impact of the alleged antitrust violations
17   on the prices paid by class members.” Id. at 677.10 Dr. Singer ran no such regression.
18           Instead, Dr. Singer claims that the conclusion that “all or almost all developers would pass
19   through to consumers at least a portion of any savings from” reduced service fees “flows from the
20   elementary economic principle that prices depend on costs.” Singer Reply ¶ 70; see Singer ¶ 223.
21
     9
22     See In re Urethane Antitrust Litig., 768 F.3d 1245, 1251 (10th Cir. 2014); In re Vitamins
     Antitrust Litig., 209 F.R.D. 251, 266–67 (D.D.C. 2002); Capacitors, 2018 WL 5980139, at *6; In
23   re Disposable Contact Lens Antitrust Litig., 329 F.R.D. 336, 421 (M.D. Fla. 2018); In re TFT-
     LCD (Flat Panel) Antitrust Litig., 267 F.R.D. 583, 602–03 (N.D. Cal. 2010).
     10
24      Plaintiffs’ cases are inapposite for additional reasons. Two involved evidence from guilty pleas
     “showing that defendants themselves acknowledged that ‘their collusion had a wide impact on
25   prices.’” Capacitors, 2018 WL 5980139, at *8; see also TFT-LCD, 267 F.R.D. at 605 (citing
     guilty pleas). In re Glumetza Antitrust Litig., 336 F.R.D. 468 (N.D. Cal. 2020), and In re
26   Suboxone (Buprenorphine Hydrochloride & Nalaxone) Antitrust Litig., 421 F. Supp. 3d 12 (E.D.
     Pa. 2019), are distinguishable because they involved allegations that all consumers who would
27   have purchased lower-priced generic drugs rather than brand versions were harmed by the
     exclusion of the generic drugs from the market. And defendants in In re Mercedes-Benz Antitrust
28   Litig., 213 F.R.D. 180 (D.N.J. 2003), “were homogeneous, selling mass-produced luxury
     automobiles and providing essentially inter-changeable services.” Id. at 189.
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 1   But a theory of universal pass-through is not common proof. See GPU, 253 F.R.D. at 496 (expert
 2   “may not meet his burden by simply stating that ‘economic theory’ dictates that prices for retail
 3   and wholesale purchases generally go up together”); In re Flash Memory Antitrust Litig., 2010
 4   WL 2332081, at *11 (N.D. Cal. 2010) (rejecting method based on “economic theory of pass-
 5   through” because pass-through was “more complex than the theoretical model”).
 6          Plaintiffs’ reliance on Dr. Singer’s theory of universal pass-through is particularly
 7   improper where real-world evidence shows that                                  Unlike Dr. Burtis,
 8   Dr. Singer has not done any analysis of pass-through using actual data on prices and service fees.
 9   Singer Dep. at 141:18–142:17. His failure to account for real-world data “casts doubt on whether
10   there was any pass-through at all,” which is yet another well-accepted ground for denying
11   certification. See In re Pre-Filled Propane Tank Antitrust Litig., 2021 WL 5632089, at *12
12   (W.D. Mo. 2021) (rejecting pass-through theory because evidence showed that retailers
13   “maintained the same retail price” despite changes in their wholesale cost); In re Digital Music
14   Antitrust Litig., 321 F.R.D. 64, 94 (S.D.N.Y. 2017) (“determining the correct pass-through would
15   require conducting separate inquiries for each [digital music service]” where evidence showed
16   that Walmart charged a uniform retail price, suggesting a zero pass-through rate for Walmart’s
17   sales); see also Olean, 31 F.4th at 666 (“where necessary,” district courts may “resolv[e] expert
18   disputes”); Ellis v. Costco Wholesale Corp., 657 F.3d 970, 983 (9th Cir. 2011) (similar).
19          Courts have so held in cases involving both Dr. Burtis and Dr. Singer. See Flash Memory,
20   2010 WL 2332081, at *11 (denying certification where Dr. Burtis presented evidence that
21   “different retailers respond to cost changes in different ways, with some choosing not to pass-
22   through cost changes”); In re Florida Cement & Concrete Antitrust Litig., 278 F.R.D. 674, 685
23   (S.D. Fla. 2012) (denying certification despite Dr. Singer’s opinion that “pass through should
24   occur” because evidence showed direct purchasers “did not consistently pass on” price increases).
25          Dr. Singer asserts that the real-world data are not informative because Google reduced
26   service fees while engaged in the challenged conduct, which prohibited developers from
27   “steering” users to platforms other than Google Play using in-app communications. Singer Reply
28   ¶ 100. However, Dr. Singer has not conducted any empirical analysis of steering on real-world

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 1   pass-through rates. Singer Dep. at 239:2–13, 240:2–241:1, 246:3–12. Moreover, Dr. Singer
 2   testified that there are “explanations for how pass-through would occur in the presence of the
 3   anti-steering restraint,” id. at 242:15–22, and that he “would expect pass-through regardless of the
 4   anti-steering restrictions.” Id. at 242:23–244:3.11
 5          Plaintiffs’ reliance on unproven theories on steering cannot erase real-world data showing
 6   that pass-through occurred in only      of SKUs when Google reduced service fees. As the
 7   Supreme Court has explained, when it comes to pass-through, “in the real economic world rather
 8   than an economist’s hypothetical model, the latter’s drastic simplifications generally must be
 9   abandoned.” Illinois Brick, 431 U.S. at 742 (cleaned up). Plaintiffs have no answer to real-world
10   evidence showing that prices did not change with service fees. That evidence shows that pass-
11   through is not universal, but depends on multiple factors that vary from app to app. The only way
12   for Plaintiffs to account for those variables for each app would be thousands of app-by-app mini-
13   trials that will overwhelm any common issues. Indeed, while the need for individualized proof to
14   “identify uninjured class members” alone suffices to “render an adjudication unmanageable,”
15   class-wide adjudication is all the more improper where the rarity of any real-world correlation
16   between service fees and prices suggests that “individual trials” will be necessary to identify any
17   fraction of class members who actually were injured by pass-through. Olean, 31 F.4th at 669
18   n.13 (emphasis added).
19          B.      Individual Issues Predominate Because Not All Developers Would Be Subject
                    To Lower Service Fees In The But-For World.
20
            Plaintiffs also cannot demonstrate predominance because they have no method of
21
     common proof that all or nearly all developers would be subject to lower service fees in the but-
22
     for world. If developers would not have paid reduced service fees in the but-for world, there
23
     would be no savings to pass through and no injury to consumers. See, e.g., Flash Memory, 2010
24

25   11
        An app-by-app analysis would be necessary even if more “steering” would have resulted in
     more pass-through. As Plaintiffs note, “developers are allowed to steer” in numerous ways,
26   including by charging lower prices on platforms with lower fees. Mot. at 22. One would expect
     all developers to do so if Dr. Singer were right that higher costs always result in higher prices.
27   Singer Dep. at 224:8–24, 229:22–230:11; Burtis ¶ 169. In reality, developers of apps such as
     Minecraft, iHeartMedia, and Pandora Plus charge the same price on their website as on Google
28   Play. Burtis ¶ 169. Dr. Singer’s examples of developers that do charge less on their website,
     Singer Reply ¶ 101, simply confirms the need for an app-by-app analysis.
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 1   WL 2332081, at *10–12 (indirect purchaser plaintiffs’ failure to show common impact on direct
 2   purchasers “alone” was sufficient to deny certification). Because        of consumers purchased
 3   from a single app, determining whether each app would have been subject to a lower service fee
 4   rate is necessary to determine whether each consumer was injured.
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11              Google has also reduced service fees in other targeted ways, such as reducing fees for
12   subscriptions. Plaintiffs provide no reason why Google would change its strategy in the but-for
13   world and reduce service fees across the board to meet enhanced competition. Id. ¶ 113. That is
14   not the strategy that Google’s competitors have used. The Amazon Appstore offered developers
15   of 20 of the top 100 games in Japan lower service fees and incentives, and
16                                                                                 Id. ¶¶ 119–20.
17          The fact that Google has reduced service fees to some developers shows that an app-by-
18   app analysis is required to determine which apps’ service fees would be lower in the but-for
19   world. “As a general matter, antitrust claims predicated on negotiated transactions, as opposed to
20   purchases based on list prices, often entail consideration of individualized proof of impact.”
21   Flash Memory, 2010 WL 2332081, at *8 (denying certification where a few direct purchasers
22   comprised the bulk of sales and had “significant negotiating power”); GPU, 253 F.R.D. at 490–
23   491 (denying certification where many direct purchasers had significant bargaining power).
24          To prove how Google’s targeted approach would affect each developer’s service fee rate
25   in the but-for world, Plaintiffs would have to either marshal individualized proof for each
26   developer accounting for their value to the Play Store and their ability to transact elsewhere,
27   Burtis ¶¶ 232–36, or show that Google would abandon a targeted approach. The former would
28   defeat predominance and the latter is missing from Plaintiffs’ motion. Dr. Singer simply uses

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 1   averages to calculate a “headline” rate for Google, and claims that Google’s individual
 2   negotiations would mechanically occur off of that rate. Singer ¶¶ 258–59; Mot. at 11, 21. Courts
 3   have rejected that approach as an improper attempt to mask individualized issues. See Flash
 4   Memory, 2010 WL 2332081, at *12 (predominance not satisfied where expert’s model failed to
 5   take into account “individual variations” and looked only “at an average price trend”).12
 6          C.      Plaintiffs’ Play Points Model Is Not Common Proof Of Impact.
 7          In one paragraph, Plaintiffs posit an alternative theory of impact: consumers allegedly
 8   were injured not because they paid too much but because Google paid them too little. Without
 9   the challenged conduct, Plaintiffs say, more competition would have led Google to “increase[e]
10   its Google Play Points loyalty program.” Mot. at 13. Plaintiffs still have no common method of
11   “identify[ing] uninjured class members” because they cannot show which apps and consumers
12   would have joined the Play Points program in the but-for world. Olean, 31 F.3d at 669 n.13.
13                              of U.S. consumers enrolled in Play Points and             redeemed
14   Play Points. Burtis Rep. ¶ 358; Singer Reply ¶ 98; Singer Dep. at 288:11–16, 289:17–23. The
15   millions of consumers who did not enroll were not injured by any reduced Play Points offerings
16   unless, in the but-for world, they would have signed up and redeemed Points. Plaintiffs have no
17   method short of mini-trials to prove which consumers would have done so. Importantly, Dr.
18   Singer has not “identified any model to determine which users would have signed up for [P]lay
19   [P]oints in the but-for world,” Singer Dep. at 295:5–20, or that can determine which of the
20   putative class members “would have signed up for [P]lay [P]oints and who would have used
21   them.” Id. at 297:8–21; see id. at 296:6–19. When asked whether “every member of the putative
22   class would have signed up for the [P]lay [P]oints program and used [P]lay [P]oints,” Dr. Singer
23   said that was a “fair assumption.” Id. at 298:22–299:10. But assumptions are not common proof.
24          Dr. Singer claims that if Google had offered Play Points equivalent on average to about
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     12
26     Plaintiffs argue that courts have accepted experts’ reliance on averages, Mot. at 23, but the
     experts in the cases they cite applied a regression model to actual data to model impact on
     consumer prices. See D&M Farms v. Birdsong Corp., 2020 WL 7074140, at *8 (E.D. Va. 2020);
27   In re Static Random Access Memory (SRAM) Antitrust Litig., 264 F.R.D. 603, 613 (N.D. Cal.
     2009). It is one thing to use a regression to show an average effect on prices as experts in these
28   cases did. It is another to assume an average effect as Dr. Singer does in this case.

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 1                 of a consumer’s transaction, then all members of the class would have signed up for
 2   them. Id. at 296:6–19, 297:8–21. This just assumes away the need to determine the amount of
 3   Play Points each consumer would have earned, and whether that amount would have motivated
 4   them to sign up. Different consumers might value the same amount of Play Points differently—
 5   just as, according to Dr. Singer, “[a] $10 gift card for Chick-Fil-A” or “a jar of change
 6   accumulating in the closet might be worth more to some consumers than others.” Singer Reply at
 7   ¶ 99. Over              class members         spent less than $5 on Play. Burtis Decl., Ex. C
 8   (Burtis Rev. Ex. 23). Dr. Singer has not even tried to show that points equal to        of that
 9   consumer spend—less than          —would have been sufficient to motivate all of these millions
10   of consumers to sign up for Play Points when only a fraction did so in the real world.13
11          D.      Many Class Members May Be Worse Off In Plaintiffs’ But-For World.
12          A class also cannot be certified where many members of the putative class benefited from
13   the challenged conduct such that plaintiffs’ but-for world would have created “winners and
14   losers.” If a plaintiff cannot “account[] or control[] for the benefits that many class members
15   receive from the exclusionary conduct on a class-wide basis,” then “the Court cannot conclude
16   that Plaintiffs have shown that common evidence is available to show class-wide impact.” Allied
17   Orthopedic Appliances, Inc. v. Tyco Healthcare Grp. L.P., 247 F.R.D. 156, 169 (C.D. Cal. 2007).
18          Consumers have access to millions of apps that are completely free and can enjoy
19   “freemium” apps without any upfront payment (or any payment at all). They pay nothing to
20   download, for example, Facebook, Uber, Airbnb, banking apps, or government agency apps.
21   Rather than charge for these apps, and many other free apps, Google primarily supports Play with
22   service fees on IAP and subscriptions, which account for        of Play’s fees for the valuable
23   services that Play provides. Burtis ¶ 57. According to Plaintiffs, however, in the but-for world,
24   developers would pay none of this revenue because they would use their own billing systems. Id.
25   ¶ 269; Singer Dep. at 309:4–310:7. In other words, Plaintiffs’ but-for world would
26                                              Shah Decl., Ex. F (“Burtis Dep.”) at 307:6–17.
27
     13
28     The       figure is also irrelevant because it reflects an estimate that Dr. Singer derived using
     “the sum of all promotions,” not just Play Points. Singer ¶ 253.
                                                       19
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 1          In that scenario, Google would have incentives to design its ecosystem differently, leaving
 2   some consumers who benefit from Google’s current system worse off. Dr. Singer agrees that one
 3   “should assume that Google is a profit-maximizing firm” that will take lawful steps to earn some
 4   of the profits that it would lose in the but-for world. Singer Dep. at 300:15–302:21. That is why,
 5   as Dr. Burtis explains,
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11                  Dr. Burtis also explains that, in the but-for world, consumers may lose access to
12   valuable features. For example, in a world without existing Android security standards, security-
13   conscious consumers would be worse off because they would face costs to keep their data and
14   devices secure. Burtis ¶¶ 190–96. Even if the impact of these changes were small, they could
15   cause net harm to consumers—such as the          of class members who spent less than $5 during
16   the class period and suffered (at most)       in damages, or the            of class members that
17   spent less than $50 and suffered (at most)       in damages.14
18          In short, while Play has enabled millions of consumers to obtain safe and secure free apps,
19   some consumers may have paid more and received less in Plaintiffs’ but-for world. “The result is
20   to shuffle the position of [consumers] in the but-for world in a manner that defies predictability
21   with common evidence.” Allied Orthopedic, 247 F.R.D. at 169; see also Kottaras v. Whole
22   Foods Market, Inc., 281 F.R.D. 16, 23–24 (D.D.C. 2012) (denying certification when
23   individualized inquiry needed to determine “net injury”); Digital Music, 321 F.R.D. at 95 (same).
24          Dr. Singer claims Google would not switch business models because the availability of
25   free apps benefits the Android ecosystem in ways Google would not sacrifice if it faced more
26   competition. Singer Reply ¶ 54. Setting aside this concession that Google’s current model
27
     14
28     Maximum alleged damages in this example is the difference between a 30% fee and a 14.8%
     fee and assumes (contrary to fact) 100% pass through. E.g., ($5 x 0.3) – ($5 x 0.148) = $0.75.
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 1   benefits consumers and developers, internal Google documents show that
 2                                                                                       Burtis ¶ 269
 3   n.321. Moreover, the State AGs allege that Google should charge service fees to all developers,
 4   including those that pay no such fees today, Plaintiff States’ Complaint, ECF No. 188, ¶ 189, and
 5   Plaintiffs’ counsel are seeking fees for the success of those claims. See Section II, below.
 6          Dr. Singer also notes that while Google
 7                  Singer Reply ¶ 54. But Plaintiffs are attacking Google’s current business model.
 8   Google believes its business model is lawful and the best one for consumers and developers,
 9                                                                 Further, the question here is whether
10   Google would have adopted an alternative if it was forbidden from pursuing its current strategy
11   or charging a service fee on IAPs that go through another billing system.
12                                                                     Burtis ¶ 197.15
13           Plaintiffs’ inability to “account[] or control[] for the benefits that many class members
14   receive from the exclusionary conduct on a class-wide basis” precludes a finding that “common
15   evidence is available to show class-wide impact.” Allied Orthopedic, 247 F.R.D. at 169. For
16   these same reasons, there are “fundamental conflicts of interest . . . among the proposed class
17   members,” making certification “inappropriate.” Id. at 177.
18          E.      Plaintiffs Have No Common Method Of Calculating Damages.
19          The proposed class also cannot be certified because “the complexity of damages
20   calculations . . . defeat[s] predominance.” Olean, 31 F.4th at 681. While individualized damages
21   do not alone defeat certification, Leyva v. Medline Indus. Inc., 716 F.3d 510, 514 (9th Cir. 2013),
22   Plaintiffs’ damages model must establish that “damages are capable of measurement on a
23   classwide basis.” Comcast Corp. v. Behrend, 569 U.S. 27, 34 (2013). It does not. Because
24   Plaintiffs’ damages are based on allegedly high service fees that are passed through to consumers,
25
     15
26     Plaintiffs also insist that Google would not change its business model because it would be
     profitable with the but-for service fee rate. Mot. at 12; Singer Reply ¶ 50. But neither Plaintiffs
27   nor Dr. Singer explain why a developer would choose to use Google Play’s billing service and
     pay         if, as Plaintiffs claim, the developer could use its own billing system and pay Google
28   nothing. Nor do Plaintiffs address the fact that
                                                                  Burtis Dep. at 308:9–24.
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 1   Mot. at 13, Plaintiffs have no common method of calculating class-wide damages for the same
 2   reasons they lack common proof of impact. See pp. 8–22, above; Burtis ¶ 100 n.110. Plaintiffs
 3   cannot show that savings to consumers would have been “fairly uniform” in the but-for world,
 4   Earl v. Boeing Co., 21 F.4th 895, 899 (5th Cir. 2021); instead, this Court will need to conduct
 5   “individualized mini-trials to determine each class member’s damage award,” Olean, 31 F.4th at
 6   682 n.31. Indeed, what Dr. Singer calls the standard economic model shows that variations in
 7   developers’ marginal costs can result in dramatic variations in damages calculations.16
 8   II.    PLAINTIFFS’ COUNSEL ARE NOT ADEQUATE BECAUSE THEIR JOINT
            PROSECUTION AGREEMENT CREATES CONFLICTS.
 9
            Under Rule 23(a)(4), class counsel are inadequate if they “have any conflicts of interest
10
     with other class members.” Hanlon v. Chrysler Corp., 150 F.3d 1011, 1020 (9th Cir. 1998). This
11
     standard prohibits “even the appearance of divided loyalties of counsel.” Kayes v. Pacific
12
     Lumber Co., 51 F.3d 1449, 1465 (9th Cir. 1995) (cleaned up). Here, Plaintiffs’ counsel have
13
     direct conflicts with the proposed class because of their Joint Prosecution Agreement (“JPA”)
14
     with the State AGs. Although Plaintiffs’ counsel pled a nationwide class, they now seek to
15
     represent only consumers who are not residents of the party states in State of Utah et al. v.
16
     Google LLC, et al. Yet under the JPA, Plaintiffs’ counsel continue to have a financial interest in
17
     the claims of consumers they no longer seek to represent because they can claim attorney’s fees
18
     out of funds recovered by the State AGs. This arrangement creates improper incentives and dual
19
     loyalties that conflict with counsel’s duty to the proposed class.
20
            First, the JPA gives Plaintiffs’ counsel financial interests that do not depend on a
21
     successful result for the class. Under the JPA, Plaintiffs’ counsel can seek fees from “any
22
     recovery created by resolution of” the State AG claims for work performed while they “still
23
     represent[] clients with live claims in the case.” ECF No.279-3, Ex. 1 (JPA), p. 3. Thus, unlike a
24
     traditional contingency in which counsel’s fees depend on their client’s recovery, under the JPA,
25
     counsel’s ability to keep earning fees depends on the absence of a settlement providing a
26
     16
27     The standard model Dr. Singer identified in his report assumes a developer’s total marginal
     costs are equal to marginal costs divided by (1 – service fee). Singer ¶ 225; Singer Dep. at
28   106:11–108:16. Each developer’s marginal costs therefore directly affect the calculation of the
     upper limit on pass-through damages.
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 1   recovery for the proposed class. This gives Plaintiffs’ counsel an incentive to keep the class
 2   claims alive as long as possible, warping counsel’s evaluation of whether a settlement is in the
 3   class’s best interests. The JPA therefore impermissibly “disjoin[s] the contingency financial
 4   interests of the contracting representatives from the class.” Rodriguez v. W. Publ’g Corp., 563
 5   F.3d 948, 959 (9th Cir. 2009).
 6          Second, the JPA gives Plaintiffs’ counsel dual loyalties to the narrowed class and the four
 7   named plaintiffs who do not reside in states within the narrowed class definition.17 Counsel
 8   “cannot simultaneously represent a class and prosecute either individual or class claims against
 9   the same defendants in a different proceeding, even if there is partial overlap among the plaintiffs
10   or class members in the cases.” Lou v. Ma Labs., Inc., 2014 WL 68605, at *2 (N.D. Cal. 2014)
11   (finding counsel inadequate and denying class certification) (quoting 1 McLaughlin on Class
12   Actions 4:39 (10th ed.)). This conflict precludes certification because a class “deserves to be
13   championed by its counsel unencumbered by their duties to other clients.” Id.
14          Plaintiffs have not identified any precedent approving an agreement giving class counsel
15   an interest in funds recovered by consumers who are represented, and whose claims are being
16   litigated, exclusively by State AGs. Compare In re Dynamic Random Access Memory (DRAM)
17   Antitrust Litig., 2013 WL 12387371, at *7 (N.D. Cal. 2013), R. & R. adopted, 2014 WL
18   12879521 (splitting common fund fee award among class counsel and State AGs who represented
19   the same consumers). To the contrary, absent a gross imbalance in contributions to the litigation,
20   “if the third parties hire their own attorneys and appear in the litigation, the original claimant
21   cannot shift to them his attorney’s fees.” Vincent v. Hughes Air W., Inc., 557 F.2d 759, 770 (9th
22   Cir. 1977); see United States v. Tobias, 935 F.2d 666, 668–69 (4th Cir. 1991) (similar). The JPA
23   creates conflicts that make Plaintiffs’ counsel inadequate to represent the class.
24   III.   THE COURT CANNOT CERTIFY AN INJUNCTIVE RELIEF CLASS.
25          Plaintiffs’ three perfunctory paragraphs cannot establish that “final injunctive relief or
26
     17
27     Plaintiffs Carr (Washington resident), Egerter (California resident), Palmer (Massachusetts
     resident); and Moglia (New York resident) cannot serve as class representatives because they are
28   not in the proposed class. Orr v. Shicker, 953 F.3d 490, 499 (7th Cir. 2020).

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 1   corresponding declaratory relief is appropriate respecting the class as a whole.” Fed. R. Civ. P.
 2   23(b)(2). Plaintiffs’ proposed injunctive relief class includes any person in 17 states or territories
 3   with an Android device “capable of accessing the Google Play Store”—regardless of whether
 4   they have made any purchases through Play. Mot. at i. The proposed injunctive relief class thus
 5   includes consumers who have not paid a cent for digital content in apps installed from Play.
 6          First, Plaintiffs have not “described the general contours of an injunction that would
 7   provide relief to the whole class.” B.K., 922 F.3d at 972. Now-Circuit Judge Koh’s decision
 8   denying certification of a 23(b)(2) class in Grace v. Apple, Inc., 328 F.R.D. 320 (N.D. Cal. 2018),
 9   is instructive. There, “the only statement approaching a legal argument” in plaintiffs’ motion was
10   that “‘[c]ertification under Rule 23(b)(2) is proper because Apple’s wrongful conduct affected all
11   Class members in the same way.’” Id. at 349. Here, the only sentence in Plaintiffs’ motion
12   containing an argument for an injunctive relief class is that “Google’s conduct at issue is not
13   specific to any consumer.” Mot. at 24–25. In Grace, the plaintiffs made a “boilerplate request”
14   for “‘injunctive relief to remedy Apple’s continuing wrongful conduct.’” 328 F.R.D. at 349–50.
15   Here, Plaintiffs’ motion says nothing about their requested injunction at all, and their complaint
16   prays vaguely for an order “enjoining Defendants from monopolizing the Android Application
17   Distribution Market” and “engaging in anticompetitive conduct.” Plaintiffs’ own authority holds
18   that such conclusory treatment cannot warrant certifying a 23(b)(2) class. See Suboxone, 421 F.
19   Supp. 3d at 70 (denying certification where plaintiffs “relegated their request for 23(b)(2)
20   certification to a mere two paragraphs in their Motion and two more brief paragraphs in their
21   reply brief”); see also Williams v. Apple, Inc., 338 F.R.D. 629, 657 (N.D. Cal. 2021) (same given
22   “Plaintiffs’ failure to meaningfully analyze the injunctive class in their motion”).
23          For the same reasons, Plaintiffs have failed to demonstrate that their request for injunctive
24   relief predominates over the monetary relief sought, as required under Rule 23(b)(2). See, e.g.,
25   Ellis, 657 F.3d at 986 (“Class certification under Rule 23(b)(2) is appropriate only where the
26   primary relief sought is declaratory or injunctive.” (quotation marks omitted)); In re Paxil Litig.,
27   218 F.R.D. 242, 247 (C.D. Cal. 2003) (denying certification under 23(b)(2) where “the vague
28   description of the nature of the actions sought to be enjoined suggests that the value of the

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 1   injunctive relief requested is dwarfed by the value of the monetary damages requested”).
 2          Second, Plaintiffs have not shown that consumers who never paid for an app or IAP using
 3   Play will be injured absent an injunction. All class members “must stand to benefit” from an
 4   injunction, and a Rule 23(b)(2) class cannot be certified “when injunctive relief is not proper for
 5   every class member.” Berni v. Barilla S.p.A., 964 F.3d 141, 147 n.28 & 148 (2d Cir. 2020).
 6   Again, Plaintiffs’ own authority is in accord. See Suboxone, 421 F. Supp. 3d at 70 (denying
 7   certification of 23(b)(2) class because “the proposed injunctive relief in the form of ‘corrective
 8   disclosures’ will not benefit patients who no longer take Suboxone film”). Plaintiffs’ inclusion of
 9   consumers who have never purchased any app or made any IAP distinguishes this case from In re
10   NCAA Student-Athlete Name & Likeness Licensing Litig., 2013 WL 5979327 (N.D. Cal. 2013),
11   where “all class members . . . would potentially be subject to ongoing antitrust harms resulting
12   from the continued unauthorized use of their names, images, and likenesses.” Id. at *7.
13          Third, the class representatives cannot adequately represent class members who have paid
14   nothing for apps or IAP and would be harmed by an injunction requiring Google to suspend
15   features of the Android and Play business model that has benefited them enormously at no cost.
16   Courts regularly deny certification of injunctive relief classes that include members who would be
17   harmed by the requested injunction.18 That rule prevents injunctive relief here because an
18   injunction eliminating Google’s challenged conduct could harm consumers who have not paid for
19   apps or made IAPs by resulting in charges for free apps or changes in features of Play they value.
20   Plaintiffs’ request to certify a class that would be harmed by the relief they request underscores
21   that this case is not appropriate for class treatment.
22                                              CONCLUSION
23          For the foregoing reasons, the Court should deny Plaintiffs’ motion for class certification.
24
     18
25     See, e.g., Allen v. Dairy Farmers of Am., Inc., 279 F.R.D. 257, 274 (D. Vt. 2011) (denying
     certification where requested injunction “will materially transform the manner in which
26   defendants do business,” resulting in “harm which will not be shared by each of the proposed
     class representatives”); Digital Music, 321 F.R.D. at 91 (denying certification where at least some
27   class members would be harmed if injunction were granted); Pickett v. Iowa Beef Processors, 209
28   F.3d 1276, 1280 (11th Cir. 2000) (class improper “when it consists of members who benefit from
     the same acts alleged to be harmful to other members”).
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 2   Dated: June 23, 2022                            By: /s/ Sujal J. Shah
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26                                                Litigation; In re Google Play Developer
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27                                                Games, Inc. v. Google LLC; State of Utah et
                                                  al. v. Google LLC et al.
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 1                             Certificate Pursuant to Local Rule 5-1(h)(3)
 2          I, Sujal J. Shah, am the ECF User whose credentials are being used to file DEFENDANTS’

 3   OPPOSITION TO PLAINTIFFS’ CLASS CERTIFICATION MOTION. In compliance with Local

 4   Rule 5-1(h)(3), I hereby attest that counsel for Defendants have concurred in this filing.

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 6   Dated: June 23, 2022                              By                  /s/ Sujal J. Shah
                                                                            Sujal J. Shah
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